    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 1 of 6 PageID #:6308




                               UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


IN RE: STERICYCLE, INC., STERI-SAFE                     No. 1:13-cv-05795
CONTRACT LITIGATION                                     MDL No. 2455

                                                        Judge Milton I. Shadur




        PLAINTIFFS’ UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF
              CLASS SETTLEMENT AND APPROVAL OF NOTICE PLAN

         Hagens Berman Sobol Shapiro LLP (“Hagens Berman” or “Class Counsel”), on behalf of

Class Representatives Lyndon Veterinary Clinic, PLLC, RESEARCHDX, LLC, Cochranton

Veterinary Hospital, Amores Dental Care, McMackin & Zimnoch, P.C., Madison Avenue

Professional Building, and Greater Hampstead Family Medicine, PC., presents this unopposed

motion seeking preliminary approval of the Settlement Agreement and Release (“Agreement”).1

         The Class, previously certified by the Court, is defined as:

                  All persons and entities that, between March 8, 2003 through the
                  date of preliminary approval resided in the United States (except
                  Washington and Alaska), were identified by Stericycle as “Small
                  Quantity” or “SQ” customer, and were charged and paid more than
                  their contractually-agreed price for Stericycle’s medical waste
                  disposal goods and services pursuant to Stericycle’s Automated
                  Price Increase Policy. Governmental entities whose claims were
                  asserted in United States ex rel. Perez v. Stericycle Inc. shall be
                  excluded from the class.2

         The proposed Class Representatives for purposes of this Settlement are all former

Stericycle customers who were subject to Stericycle’s Automated Price Increase policy. Their

    1
      The Settlement Agreement and its exhibits are attached to the Declaration of Steve W.
Berman (“Berman Decl.”) as Exhibit 1.
    2
      Dkt. No. 261. The Class approved by the Court covered the period “March 8, 2003 through
the date of trial.” For purposes of settlement, the class period necessarily runs only through the
date of preliminary approval, which serves as a proxy for the “date of trial.”

                                                  -1-
010362-11 992520 V1
    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 2 of 6 PageID #:6309




experiences, as detailed in Plaintiffs’ Motion for Class Certification, are typical of the Class. All

of the Class Representatives have approved the Settlement Agreement. The previously certified

Class continues to meet the requirements of Rule 23, for the reasons set forth in the Court’s

Order certifying the class.

          Because the Court has previously certified a class in this matter, the issue before it now is

a simple one:

                  Is the Settlement Agreement, which provides $295 million to the
                  Class and contains prospective relief that will put an end to the
                  disputed pricing practice, cap future price increases, provide for
                  additional transparency in future contracts, and contains
                  mechanisms for monitoring compliance with the Settlement
                  Agreement, within the range of possible approval?

          As reflected in more detail in Plaintiffs’ Memorandum in Support of Unopposed Motion

for Preliminary Approval of Class Settlement and Approval of Notice Plan (“Memorandum”),

the answer to that question is “Yes.”

          Rule 23(e) “requires court approval of any settlement that effects the dismissal of a class

action. Before such a settlement may be approved, the district court must determine that a class

action settlement is fair, adequate, and reasonable, and not a product of collusion.”3 In making

this determination, courts examine whether the settlement is “within the range of possible

approval,”4 which involves examining the following factors: (1) the strength of the plaintiffs’

case compared to the terms of the proposed settlement; (2) the likely complexity, length, and

expense of continued litigation; (3) the amount of opposition to settlement among affected




    3
        Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 279 (7th Cir. 2002) (citation omitted).
    4
        Armstrong v. Bd. of Sch. Dirs., 616 F.2d 305, 314 (7th Cir. 1980) (citation omitted).

                                                   -2-
010362-11 992520 V1
    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 3 of 6 PageID #:6310




parties; (4) the opinion of competent counsel; and (5) the stage of the proceedings and the

amount of discovery completed.5

         The Court should grant Plaintiffs’ motion because all of these factors weigh in favor of

granting preliminary approval.

                 Plaintiffs’ case still faces substantial hurdles, potential delays, and no certainty

that a favorable outcome at trial would result in a verdict providing relief greater than that

afforded by the Settlement. The Settlement provides significant benefits to the Class, including a

$295 million cash payment, a cessation of the disputed pricing practices, a cap on future price

increases, and oversight by a Settlement Monitor to ensure compliance. These certain benefits

outweigh the uncertain prospects of continued litigation and favor preliminary approval.

                 If this case returns to a litigation footing, there will likely be substantial delays as

Stericycle challenges the Court’s granting of class certification. Once the matter gets to trial,

further uncertainties lie ahead, including serious defenses that could eliminate or reduce the

Class’s recovery. These risks are removed by the Settlement. The risk, expense, complexity,

and likely duration of further litigation weigh in favor of preliminary approval.

                 All of the Class Representatives favor the Settlement and the Settlement provides

substantial benefits to the Class. Opposition to the Settlement at this point is de minimus and

there is no reason to expect significant opposition after notice has been given.

                 The terms of the proposed Settlement were reached following extensive discovery

by attorneys familiar with the legal and factual issues of the case. The case has been thoroughly

litigated and subjected to extensive briefing on class certification. Class Counsel has the benefit

of a deep understanding of the factual and legal issues and recommends the Settlement.


    5
     Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006) (quoting
Isby v. Bayh, 75 F.3d 1191, 1199 (7th Cir. 1996)).

                                                    -3-
010362-11 992520 V1
    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 4 of 6 PageID #:6311




         The Court should also approve the notice plan described in the Settlement Agreement.

Reasonable notice must be provided to class members to allow them an opportunity to object to

the proposed Settlement.6 Rule 23(e) requires notice of a proposed settlement in such manner as

the court directs. The MANUAL FOR COMPLEX LITIGATION (“MANUAL”) sets forth several

elements of the “proper” content of notice. If these requirements are met, notice satisfies Fed. R.

Civ. P. 23(c)(2), Fed. R. Civ. P. 23(e), and due process, and binds all members of the Class. The

notice must:

                  1.   Describe the essential terms of the settlement;

                  2.   Disclose any benefits or incentives to the class representatives;

                  3.   Provide information regarding attorneys’ fees;

                  4.   Indicate the time and place of the hearing to consider approval of
                       the settlement, and the method for objection to and/or opting out of
                       the settlement;

                  5.   Explain the procedures for allocating and distributing settlement
                       funds; and

                  6.   Prominently display the address of class counsel and the procedure
                       for making inquiries.7

         The proposed notices, attached as Exhibits 2 and 4 to the Settlement Agreement, are

clear, precise, informative, and meet the foregoing standards. The proposed notice plan, relying

on the same records Stericycle used to direct its service billing with appropriate updates by the

Settlement Administrator, will reliably provide the best possible notice to the Class. The

proposed notices and notice plan meet or exceed the standards above and should be approved.




    6
     See Durrett v. Housing Auth. of Providence, 896 F.2d 600, 604 (1st Cir. 1990).
    7
     MANUAL ¶ 30.212 (3d ed. 1995); see also, e.g., Air Lines Stewards & Stewardesses Ass’n
Local 550 v. Am. Airlines, Inc., 455 F.2d 101, 108 (7th Cir. 1972) (notice that provided summary
of proceedings to date, notified of significance of judicial approval of settlement, and informed
of opportunity to object at the hearing satisfied due process).

                                                -4-
010362-11 992520 V1
    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 5 of 6 PageID #:6312




         The Settlement Agreement contains benchmarks and deadlines for the Settlement

Administrator’s issuance of class notice, for opting out of the Settlement, and for objecting to the

Settlement. Plaintiffs recommend that the Court adopt the schedule in the table attached to

Plaintiffs’ Memorandum as Exhibit A.

         As more fully described in the Memorandum and supporting exhibits, Plaintiffs

respectfully request that the Motion be granted and the Court enter an order: (i) conditionally

certifying the class; (ii) granting preliminary approval of the Settlement; (iii) establishing the

deadlines reflected above; and (iv) directing that notice be provided to the Class in accordance

with the Agreement.

DATED: October 17, 2017                             Respectfully submitted,

                                                    By: /s/ Steve W. Berman
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                                                 -5-
010362-11 992520 V1
    Case: 1:13-cv-05795 Document #: 304 Filed: 10/17/17 Page 6 of 6 PageID #:6313




                                 CERTIFICATE OF SERVICE
         The undersigned hereby certifies that a true and accurate copy of the foregoing was filed

electronically via the Court’s ECF system, on October 17, 2017. Notice of electronic filing will

be sent to all parties by operation of the Court’s electronic filing system.

DATED: October 17, 2017                        HAGENS BERMAN SOBOL SHAPIRO LLP

                                               By:      /s/ Steve W. Berman
                                                       STEVE W. BERMAN




                                                 -6-
010362-11 992520 V1
